Case 2:05-cv-02409-BBD-dkv Document 2 Filed 06/07/05 Page 1 of 2 Page|D 1

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sHARoN HANNA,
Plaintiff, 05. O,ZJ_,L 0 67
V' No.-oa-a+aa=B-_“

GENERAL MOTORS CORPORATION,
and RAY CHEVROLET, INC.,

Defendants

 

ORDER OF RECUSAL

 

The undersigned hereby recuses himself from all proceedings in the above-captioned case.
The clerk is directed to take the appropriate action to reassign this case. The parties shall, on all
pleadings and correspondence related to this matter, change the judge‘s initials in the case number

from 05-2409-B/V to the initials of the new judge assigned to this case.

%;ad

IEL BREEN
JNIT DST TES DISTRICT JUDGE

DATE 6 ', la 0 §

IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02409 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Melissa Holt Yopp

LAW OFFICE OF GARY GREEN
40 N. Pauline Sq.

l\/lemphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

